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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

   ELEMICA, INC.,

          Plaintiff,                            C.A. No. 21-893-SB

                  v.                            JURY TRIAL DEMANDED

   ECMARKET, INC. d/b/a
   CONEXIOM INC.,

          Defendant.

        DEFENDANT ECMARKET’S MOTION FOR SUMMARY JUDGMENT
       Defendant ecMarket, Inc. (“Defendant”), respectfully moves this Court for summary

judgment on Counts I and II of the Amended Complaint (D.I. 33) and Count III of the

Supplemental Complaint (D.I. 62-1). The grounds for this motion are set forth in Defendant’s

Memorandum in Support of Its Motion For Summary Judgment on All Counts in Plaintiff’s

Amended and Supplemental Complaints, filed contemporaneously with this motion.

 Dated: April 10, 2024                         K&L GATES LLP
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